          Case 3:14-cr-02863-W                      Document 142                  Filed 08/01/16                  PageID.770        Page 1 of 3


    "'AO 2458 (CASD) IRev 4i14)
               Sheet I
                                    Judgment in a Criminal Case with Probation
                                                                                                                                 FILED
                                                                                                                                 AUG 0 1 2016
                                              UNITED STATES DISTRICT COUI T
                                                                                                                        CLERK, U.S. DISTRICT COURT
                                                   SOUTHERN DISTRICT OF CALIFORNIA                                   SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                                     BY                       DEPUTY
                     UNITED STATES OF AMERICA                                         JUDGMENT IN A CC:1U1Kl:l~VVJll1J"1~~jAALL-om~-~~!.!..J
                                        V.                                            (For Offenses Committed On or After November J. 1987)

                              CECIL GARR (I)                                          Case Number: l4CR2863-W
                                                                                      David R Silldorf
                                                                                      Defendant' 5 Attorney
    REGISTRATIO:'l/ :'I/O. 48555298

    D
    THE DEFENDANT:
    [g] pleaded guilty to eount(s) ONE OF THE INDICTMENT
    D was tound guilty on eount(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the follmving offense(s):
                                                                                                                                             Count
    Title & Section                          Nature ofOfTense                                                                               Number(s)
18 USC 371                             CONSPIRACY TO COMMIT THEFT OF GOVER~MENT PROPERTY                                                           1




        The defendant is sentenced as provided in pages 2 through _ _.:; ;3_ _ o fthisjudgment. Thc sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on count(s)
 D
 x Count(s)_
           remaining
              _______            in_ _  the
                                          ___
                                                       ------------------------------------
                                                 Indictment
                                                    _ _ _ _ _ _ _ _ is DareD dismissed on the motion of the United States.
                                                                       x
 [B] Assessment: $100.00


 [B] Fine waived                               ~ Forfeiture pursuant to order filed                   08/01116            , included herein.
                                                                                                     -------------
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence.
 or mailing address until all fines. restitution. costs. and special assessments imposed by this judgment are fully paid. 1f ordered to pay restitution. the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                                 AUGUST 1,2016
                                                                                 Date of (mpoSltlon of Sentence      J
                                                                                                                   } 1   )

                                                                                 HON. THOMAS J.               J:!it::J~
                                                                                 UNITED STATES DISTRICT JUDGE

                                                                                                                                                  14CR2863-W
         Case 3:14-cr-02863-W                     Document 142               Filed 08/01/16             PageID.771              Page 2 of 3


AO 245B (CASD) (Rev. 12111) Judgment 1n a Criminal Case with Probation
              Sheet 3 .- Probation
                                                                                                              Judgment--Page __2__ of        _--,3,-_ _
DEFENDANT: CECIL GARR (I)                                                                              a
CASE NUMBER: 14CR2863-W
                                                                   PROBATION
The defendant is hereby sentenced to probation for a term of:
 FIVE (5) YEARS

The defendant shall not commit another federal. state. or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 8 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
  future substance abuse. (Check. if applicable.)

        The defendant shall not possess a firearm, ammunition, destructive device. or any other dangerous weapon.
        The dctendant shall cooperate in the collection of a DNA sample from the defendant. pursuant to section 3 of the DNA Analysis
        Backlog Elimination Act of 2000. pursuant to 18 USC sections 3563(a)(7) and 3583(d).
        The detcndant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901. et seq.) as directed
        by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student. or
        was convicted of a qualifying offense. (Check if applicable.)

D       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

          [fthis judgment imposes a fine or restitution obligation, it is a condition of probation that the defendant pay any such fine or
restitution in accordance with the Schedule of Payments sheet ofthisjudgmcnt.
        The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the special conditions imposed.


                                        STANDARD CONDITIONS OF SUPERVISION
  I)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training. or other
         acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of a Ieohol and shall not purchase, possess. use. distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold. used. distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
 10)      the dcfendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
          any contraband observed in plain view of the probation officer;
 [ I)     the defendant shall notify the probation officer within seventy·two hours of being arrested or questioned by a law enforcement
          officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer. the defendant shall notify third parties of risks that may be occasioned by the defendant's
          criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
          the defendant's compliance with such notification requirement.




                                                                                                                                           14CR2863-W
            Case 3:14-cr-02863-W                     Document 142              Filed 08/01/16        PageID.772            Page 3 of 3


       AO 245B (CASDi (Rev 12/J I Judgment in a Criminal Case with Probation
                   Sheet 5 -- Special Conditions
                                                                                                          Judgment-Page   ---l- of ___3_ _
       DEFENDANT: CECIL GARR (I)
       CASE NUMBER: 14CR2863-W




                                               SPECIAL CONDITIONS OF SUPERVISION
'xl Submit to a search of your person, property, place of residence, vehicle, and personal effects whenever requested to do so at a reasonable
~ time and in a reasonable manner by a probation officer or a law enforcement officer, provided that request is based upon a reasonable
    suspicion of contraband or evidence of a violation of a condition of your probation.


o officer
  If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
          within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
o Not transport, harbor, or assist undocumented aliens.
o Not associate with undocumented aliens or alien smugglers.
[8J Not engage in the employment or profession of involving any fiduciary responsibilities.
o Not enter the Republic of Mexico without written permission of the Court or probation officer.
o Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any foml.
Igj Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    infonnation between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
    amount to be determined by the probation officer, based on the defendant's ability to pay.
o officer,
  Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
           if directed.
Igj Provide complete disclosure of personal and business financial records to the probation officer as requested.
181 Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
Igj Seek and maintain full time employment.
o Resolve all outstanding warrants within        days.
o Complete hours of community service in a program approved by the probation officer within
o Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
Igj Participate in a program of drug or alcohol abuse treatment, including drug testing and counseling, as directed by the probation officer.
    Allow for reciprocal release of infonnation between the probation officer and the treatment provider. May be required to contribute to the
    costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

[8J Notify the Collections Unit, United States Attorney's Office, of any interest in propeny obtained, directly or indirectly, including any interest
    obtained under any other name, or entity, including a trust, partnership or corporation until the fine or restitution is paid in full.

x- Notify the Collections Unit, United States Attorney's Office, before transferring any interest in property owned, directly or indirectly,
    including any interest held or owned under any other name, or entity, including a trust, partnership or corporation.




                                                                                                                                             14CR2863-W
